
Egan Jr., J.P., Lynch, Clark and Mulvey, JJ.,
concur. Adjudged that the determination is modified, without costs, by annulling so much thereof as determined that petitioner was not an employee of Williamsville Central School District from July 1, 2002 to November 2008, Greece Central School District from July 1, 2003 to the present, Rush-Henrietta Central School District from February 1, 2006 to the present, Spencer-port Central School District from July 1, 2005 to June 30, 2008, and Brighton Central School District from July 2005 to the present; petition granted to that extent and matter remitted to respondent Comptroller for further proceedings not inconsistent with this Court’s decision; and, as so modified, confirmed.
